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                         IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

Leila Green Little, et al.,                §
                                           §
         Plaintiffs,                       §
                                           §
                 v.                        § Civil Action No. 1:22-cv-00424-RP
                                           §
Llano County, et al.,                      §
                                           §
         Defendants.                       §


        PLAINTIFFS’ REPLY IN SUPPORT OF THEIR POST-HEARING BRIEF
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       In their Response, Defendants ask the Court to reject the evidence that was adduced at the

PI hearing in favor of new, unauthorized declarations from three defendants and argue that the

secret book repository created by Defendant’s lawyer moots Plaintiffs’ need for injunctive relief.

These arguments are not supported by the law of the Fifth Circuit or the evidence in this case.

       All contemporaneous evidence shows that Llano County’s removal of books from its

library system was driven by political animus and the unprecedented personal involvement of the

County’s Commissioners Court. In the Fifth Circuit, “the key inquiry in a book removal case is

the . . . officials’ substantial motivation in arriving at the removal decision.” Campbell v. St.

Tammany Par. Sch. Bd., 64 F.3d 184, 190 (5th Cir. 1995) (adopting reasoning of the plurality in

Bd. of Educ. v. Pico, 457 U.S. 853, 872 (1982)). That a library may have greater leeway in its

acquisition of materials does not give officials free reign to deny citizens access to already-

available materials “simply because they dislike the ideas contained in those books.” Id. at 188

(quoting Pico, 457 U.S. at 872).

       Instead of engaging in the “key inquiry” prescribed by the Fifth Circuit, Defendants seek

to divert attention with a series of post-litigation efforts to rewrite the facts. Most prominently,

they point to a secret book repository created in an attempt to moot Plaintiffs’ injuries—an effort

that fails for at least three reasons. First, this is textbook voluntary cessation and does not moot

the need for injunctive relief; Defendants could simply resume the unlawful conduct. This is

especially true here because Defendants deny that their conduct was wrongful and have offered

shifting accounts of what occurred. Second, Defendants waived this argument when their lawyer,

who donated the books, largely avoided cross-examination by testifying that he was not going to

argue that his donations mooted the need for an injunction. Hr’g Tr. Vol. 2 at 82:4-21. Third,

keeping the books behind a desk still makes it more difficult, and embarrassing, for Plaintiffs to




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check them out. Even if this post hoc conduct were relevant, it still burdens Plaintiffs’ First

Amendment rights and would not moot the need for an injunction.

       Defendants also suggest that whether Milum correctly applied the MUSTIE criteria is

dispositive, devoting the bulk of their brief to the subject. On their telling, Milum did not target

any of the Banned Books but, coincidentally, weeded those same books under routine weeding

criteria shortly after Defendants identified them as pornographic filth. Defendants assert that the

Court must believe this narrative because Plaintiffs did not expressly accuse Milum of lying. Not

so. As the finder of fact, the Court may assess the veracity of Defendants’ story and, based on the

evidence presented at the hearing—including Defendants’ admission that the books were only

pulled for removal because the Commissioners ordered it or they appeared on the Wallace list—

find Defendants removed the books before ultimately hiding them from public view. 1 The Court

may also consider that Defendants withheld Llano County librarians’ internal emails—the most

probative evidence of intent—but inaccurately certified their production under Rule 26(g). 2 For

all these reasons, the Court should issue the requested injunction.

                                           ARGUMENT

I.     Plaintiffs Have Established a Likelihood of Success on the Merits
       The core facts of this case are well-known to the Court. Post-Hr’g Br. at 2-13. Testimony

and evidence adduced at the hearing established that:

       •    Milum, in her capacity as Llano County Library Director, pulled the Banned Books
            off of the shelves for review because of their content and viewpoint; 3

       •    Milum then removed the Banned Books from the Llano County Library shelves and
            catalog; 4

1
  Resp. at 8-18, 25-27. Some books were pulled due to individual inquiries from the
Commissioners, while others were never made available for circulation for the same reason.
2
  See ECF No. 92.
3
  Post-Hr’g Br. at 3-5.
4
  Ex. 52; Milum Dep. Tr. at 78:5-79:13.


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       •     The Banned Books were not eligible to be weeded under the CREW and MUSTIE
             criteria as those criteria had been previously applied by Milum and Tina Castelan,
             the only librarians with weeding authority at the Llano Library; 5

       •     Milum and Castelan would typically not weed a book unless it met two or more
             MUSTIE factors; 6

       •     Milum followed the instructions of her superiors, Moss and Cunningham, when they
             wanted books removed from the library; 7

       •     Removal of the Banned Books from the Library coincided with a statewide
             campaign to have the same books removed because of their expressed viewpoints; 8

       •     Defendants’ lawyer donated new copies of the Banned Books to the “in-house
             checkout program” after Plaintiffs moved for a preliminary injunction, 9 and
             Plaintiffs only became aware of the existence of those books through this
             litigation; 10

        •    Plaintiffs legitimately claimed personalized injury as of the filing of this lawsuit. 11

       Defendants’ Post-earing Response—complete with new, unauthorized declarations from

Milum, Cunningham, and Moss—fails to meaningfully call any of these core facts into question.


5
  Post-Hr’g Br. at 8-11. Plaintiffs acknowledge that It’s Perfectly Normal was last checked out
three years and twenty days before the date it was removed from the library (rather than three
years before), but it is the “only book of its category that is as extensive in its information that it
gives,” Hr’g Tr. Vol. 1 at 37:11-19, which brings it within the definition of “special topic
books,” id. at 22:6-16, and it was not properly weeded.
6
  Hr’g Tr. Vol. 1 at 21:17-21 (Castelan’s testimony that she weeded books only if they met two-
to-three MUSTIE factors); Milum Dep. Tr. at 24:5-10 (agreeing that decision to weed “are based
on some combination of [the MUSTIE] criteria; that is, an item will probably not be discarded
based on meeting only one of these criteria); id. at 69:3-13 (agreeing that “any one [MUSTIE]
factor isn’t enough to remove a book”);
7
  Hr’g Tr. Vol. 1 at 65:10-67:3, 68:15-69:17, 79:5-7, 89:6-90:9, 91:24-92:4, 98:6-14, 98:24-
99:10, 100:3-11, 101:13-19, 103:10-16, 109:8-14; Exs. 2B, 8, 19, 60.
8
  Hr’g Tr. Vol. 1 at 30:24-32:4, 71:16-72:12.
9
  In their Post-Hearing Brief, Plaintiffs wrote that Defendants’ counsel donated nine of the
Banned Books to the Llano Library, but mistakenly stated that those nine books made up the
entire in-house checkout program. Post-Hr’g Br. at 22. At the time of Plaintiffs’ opening brief,
the in-house checkout program also contained the Butt and Fart Books.
10
   Hr’g Tr. Vol. 2 at 42:16-19. Plaintiffs first learned of the in-house checkout program when
Defendants described it in their original opposition papers on July 15, 2022. ECF No. 49.
11
   Each Plaintiff attempted to check out at least one of the Banned Books, none were able to do
so, and none were informed that any book was available through “in-house checkout.” ECF Nos.
59-2, 59-3, 59-4, 59-5, 59-6, 59-7.


                                                   3
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        A.      Defendants’ Creation of a Secret Repository of Banned Books Is Irrelevant
                to Plaintiffs’ Likelihood of Success and Does Not Negate Irreparable Harm

        Defendants argue that, because their lawyer purchased and donated the Banned Books to

the library to be held behind a desk where the public cannot find them three months after this

litigation began, Plaintiffs can no longer allege any injury. 12 Resp. at 19-22, 28; compare ECF

No. 53 (“Second Milum Decl.”) ¶ 4 (Milum stating her intention to add nine of the Banned

Books to the in-house checkout program between July 23 and 27, 2022), with ECF No. 1

(Complaint dated April 25, 2022). Defendants do not claim Plaintiffs lacked such an injury at the

time this case was filed; indeed, counsel for Defendants expressly conceded that Plaintiffs did—

and continue to—suffer an injury in fact. Hr’g Tr. Vol. 2 at 82:11-15 (picking a library book out

from the shelf “as opposed to having to go talk to the librarian and go to this inhouse checkout

system . . . is a difference enough to create an injury in fact”).

        Instead, Defendants argue that the secret repository of Banned Books rendered Plaintiffs’

claims moot. Defendants scrupulously avoid using the word “moot,” but their argument is plain:

even though Plaintiffs did not have access to the Banned Books when the case began, they now

have access to them, so they are no longer suffering any impediment to accessing the books.

Resp. at 19-22. See Friends of the Earth, Inc. v. Laidlaw Env’t Servs. (TOC), Inc., 528 U.S. 167,

189 (2000) (describing mootness as “the doctrine of standing set in a time frame: The requisite

personal interest that must exist at the commencement of the litigation (standing) must continue

throughout its existence (mootness)”) (quoting Arizonans for Official English v. Arizona, 520

U.S. 43, 68, n. 22 (1997)).



12
   The cases Defendants cite for the personal injury requirement, Resp. at 20, merely stand for
the unremarkable proposition that a plaintiff must allege a personal injury when bringing suit;
they do not allow a defendant to evade suit by voluntarily removing the source of injury after
litigation begins.


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       Defendants’ reticence to call their mootness argument by its name is understandable:

Defendants’ lawyer previously represented to the Court that he would not argue that the

existence of the secret repository moots Plaintiffs’ claims. Hr’g Tr. Vol. 2 at 82:19-20.

Defendants have thus waived any mootness argument. See Caleb v. Grier, 598 F. App’x 227,

235 (5th Cir. 2015) (waiver where argument “has been abandoned explicitly”).

       Even if this argument were allowed, Defendants’ conduct has not mooted Plaintiffs’

injury in this case. Having to directly request a book to which the County has attached such

opprobrium is a burden Plaintiffs did not have to bear before the actions giving rise to this case. 13

See Denver Area Educ. Telecomms. Consortium, Inc. v. F.C.C., 518 U.S. 727, 734, 754 (1996)

(stigma of requesting access created burden on plaintiffs); Counts v. Cedarville Sch. Dist., 295 F.

Supp. 2d 996, 1002, 1005 (W.D. Ark. 2003) (stigma imposed unconstitutional burden).

Defendants’ lawyer (and secret book donor) admitted as much. Hr’g Tr. Vol. 2 at 82:11-15.

       Finally, Defendants make no effort to meet the high standard required for voluntary

cessation to effectively moot a case or to preclude a finding of irreparable injury. A defendant

pressing a voluntary cessation argument “bears the formidable burden of showing that it is

absolutely clear the allegedly wrongful behavior could not reasonably be expected to recur.”

Friends of the Earth, 528 U.S. at 190. Defendants cannot “evade sanction by predictable

protestations of repentance and reform after a lawsuit is filed.” Ctr. for Biological Diversity, Inc.

v. BP Am. Prod. Co., 704 F.3d 413, 425 (5th Cir. 2013) (citation omitted). Courts thus routinely



13
   Plaintiffs uniformly attested to feeling such a stigma. See ECF No. 59-2 (“Moster Decl.”) ¶ 5
(“offensive and impractical”); ECF No. 59-5 (“Kennedy Decl.”) ¶ 5 (“offensive and
impractical”); ECF No. 59-3 at 1-2 (“Day Decl.”) ¶ 6 (inconvenient and draws unnecessary
attention to the Plaintiffs and their reading choices); ECF No. 59-3 at 3-5 (“Waring Decl.”) ¶ 7
(“exceedingly insulting”); ECF No. 59-4 (“Jones Decl.”) ¶ 7 (“offensive, manipulative and
absurd”); ECF No. 59-6 (“Puryear Decl.”) ¶ 5 (“humiliating”); ECF No. 59-7 (“Little Decl.”)
(“disheartening”).


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find that a defendant’s voluntary cessation “does not preclude a finding of irreparable injury” or

the entry of injunctive relief. Doe v. Duncanville Indep. Sch. Dist., 994 F.2d 160, 166 (5th Cir.

1993); see Prison Legal News v. Lindsey, No. 3:07-CV-00367-P, 2007 WL 9717318, at *3 (N.D.

Tex. June 18, 2007) (“It is well settled in the Fifth Circuit that a defendant's ‘mere voluntary

cessation’ of a challenged practice does not preclude a finding of irreparable injury.”); Cisco

Sys., Inc. v. Huawei Techs., Co., 266 F. Supp. 2d 551, 554 (E.D. Tex. 2003) (rejecting voluntary

cessation argument, and adding that defendants’ ability to cease the unlawful practice is evidence

they will not be harmed by issuance of injunction).

       The voluntary cessation here was driven by Defendants’ counsel, who blithely inserted

himself into the case as a fact witness by personally creating the secret repository, albeit behind a

veil of anonymity. Hr’g Tr. Vol. 1 at 116:12-117-9; Hr’g Tr. Vol. 2 at 182:10-183:9. This fact

alone demonstrates that Defendants’ purported cessation is merely a litigation strategy, not an

irrevocable act. And, given the overwhelming evidence of Defendants’ viewpoint and content-

based motivations, they are more likely than not going to relapse absent judicial intervention.

The secret repository—and the circumstances of its creation—smack of “litigation posturing”

rather than proof “the controversy is actually extinguished.” Yarls v. Bunton, 905 F.3d 905, 910

(5th Cir. 2018); see also 6th Cong. Dist. Republican Comm. v. Alcorn, 913 F.3d 393, 407 (4th

Cir. 2019) (rejecting mootness where defendant altered challenged election form during litigation

because “such backpedaling will rarely serve to moot a case in federal court”). The secret

repository of Banned Books does not cure the First Amendment violation.

       B.      Strict Scrutiny Applies to Defendants’ Content-Based Removal Decisions and
               They Have Not Even Attempted to Satisfy That Standard

       Both the Pico plurality and the Fifth Circuit have held that, even in the context of school

libraries, where the government is acting in a parens patriae capacity, removing library books



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due to animus against the viewpoints expressed is categorically unconstitutional. In Campbell,

the Fifth Circuit adopted the Supreme Court’s Pico reasoning, stating that “school officials are

prohibited from exercising their discretion to remove books from school library shelves ‘simply

because they dislike the ideas contained in those books and seek by their removal to ‘prescribe

what shall be orthodox in politics, nationalism, religion, or other matters of opinion.’” Campbell,

64 F.3d at 188 (quoting Pico, 457 U.S. at 872). The Campbell court thus held that the

constitutionality of library book removal depends on the removal authority’s motives. Id. at 190.

Pico’s reasoning—adopted by the Fifth Circuit—has “even greater force when applied to public

libraries,” which are “designed for freewheeling inquiry.” Sund v. City of Wichita Falls, Tex.,

121 F. Supp. 2d 530, 548 (N.D. Tex. 2000) (quoting Pico, 457 U.S. at 915 (Rehnquist, J.,

dissenting)); see also Post-Hr’g Br. at 14-17.

       Here, the contemporaneous evidence uniformly confirms Defendants’ hostility to the

Banned Books’ contents and viewpoints, and shows Defendants’ concerted action to remove

those books from library shelves. Defendants suggest nonetheless that, if their viewpoint

discrimination does not resolve the case, their content-based removal decisions do not merit strict

scrutiny. Resp. at 21-22, 25. But, when making removal decisions, the County’s library system,

“like all other public libraries,” is a First Amendment limited public forum. Sund, 121 F. Supp.

2d at 548 (citing Kreimer v. Bureau of Police, 958 F.2d 1242, 1261 (3d Cir. 1992) (“Library

constitutes a limited public forum”)); see ECF No. 22 at 14-15. Even if it were not, Defendants

cite no case in which a court has applied rational-basis review to library removal decisions, much

less to politically motivated or discriminatory removal decisions. Instead, they merely assert that,

because removal of books that are “pervasively vulgar” or lacking “educational suitability” from

school libraries might pass muster, anything goes in terms of content-based decisions in public




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libraries. Resp. at 22-23 (citing Pico and Campbell). Of course, courts have held both protecting

minors from obscenity and ensuring educational suitability to be compelling government

interests under strict scrutiny, so the two Pico exceptions are hardly evidence against application

of strict scrutiny to library removal decisions. See, e.g., Reno v. A.C.L.U., 521 U.S. 844, 875

(1997) (“we have repeatedly recognized the governmental interest in protecting children from

harmful material”); Murray v. W. Baton Rouge Par. Sch. Bd., 472 F.2d 438, 442 n.2 (5th Cir.

1973) (“The interest of the state in maintaining an educational system is a compelling one.”). 14

Nor are those exceptions applicable with the same force in public libraries because “the

Government may not ‘reduc[e] the adult population . . . to . . . only what is fit for children.’”

Reno, 521 U.S. at 875 (citation omitted) (alterations in original).

       Defendants cite two decisions in support of their position that this case falls outside the

default position of strict scrutiny for content-based speech restrictions. Both involve selection,

and not removal, of content, a distinction Defendants have consistently ignored. See Post-Hr’g

Br. at 15 n.10; ECF No. 59 at 6-7. In ALA, a plurality approved a restriction requiring blocking

software on federally funded internet stations, analogizing this to the library’s decisions when

selecting books for its shelves and advocating substantial leeway for such decisions. United

States v. Am. Libr. Ass’n, Inc. (“ALA”), 539 U.S. 194, 204-05 (2003) (plurality op.). Chiras,

which Defendants characterize as having “adopt[ed]” ALA instead of Pico, Resp. at 23, dealt

with the acquisition of mandatory curriculum textbooks, an area where Pico also acknowledges

wide government discretion. Chiras v. Miller, 432 F.3d 606, 611 (5th Cir. 2005); see Pico, 457

U.S. at 864. Far from rejecting Pico, Chiras distinguished textbook acquisition from “the



14
  Defendants have never argued that the Banned Books were removed because they met the
legal definition of obscenity or that they were unfit in any way. They have thus waived any
argument that they have satisfied strict scrutiny.


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removal of an optional book from the school library.” Id. at 619; see ALA, 539 U.S. at 242

(Souter, J., dissenting) (“The difference between choices to keep out and choices to throw out is

. . . enormous, a perception that underlay the good sense of the plurality’s conclusion in [Pico].”)

        Neither case suggests the sort of carte blanche Defendants advocate, where government

officials can censor books already available to the public based on their personal preferences so

long as they unilaterally declare that the books are “misleading,” “trivial,” or “irrelevant” to the

public. Resp. at 24. Indeed, Llano County exercised its broad discretion under Chiras and ALA

when it determined the Banned Books were of sufficient public interest to purchase and make

available to patrons. Its authority to remove them due to county officials’ antipathy to their

messages is a different matter entirely, narrowly circumscribed by Pico and Campbell.

        Defendants’ “policy” argument in favor of rational-basis review lacks any constitutional

basis and would eviscerate the marketplace of ideas. Resp. at 24-25. Under Defendants’ theory,

officials could remove books authored by their political rivals or that adopt a disfavored position

on controversial issues such as racial or gender equality, abstinence-only education, abortion, or

the proper role of patriotism in society. Such unbound removal decisions are not only anathema

to libraries and their pursuit of open inquiry, study, and understanding, but they are an affront to

the First Amendment and its guarantee of “the right to receive information and ideas.” Pico, 457

U.S. at 867 (citing Stanley v. Georgia, 394 U.S. 557, 564 (1969). By contrast, despite

Defendants’ hypothetical concerns, there is little likelihood Llano County will find its libraries

overrun with flat-earth books if its officials are not allowed to remove materials they personally

dislike; in fact, it is unlikely the library ever acquired any.

        At any rate, the question of whether to allow reduced scrutiny for routine decisions

regarding library collections is not before this Court. In this case, the facts demonstrate (1) clear




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political animus against the Banned Books’ viewpoints and content, running afoul of the

unequivocal prohibition in Campbell and Pico, (2) nothing about the decision or process to

remove them was routine, and (3) the County’s supposedly neutral system for evaluating

retention decisions was not correctly applied in any case, see infra, Section C.2. On the facts of

the case before the Court, Defendants’ constitutional overreach is readily apparent.

       C.      Milum Did Not Follow MUSTIE Protocols

               1.      The Record Cannot Be Rewritten with Unauthorized Declarations

       Defendants’ new declarations cannot cure their First Amendment violations. Each of the

declarants—Milum, Moss, and Cunningham—testified twice at the hearing. Defendants had

ample opportunity to elicit all relevant testimony at that time. Defendants’ latest, unauthorized

declarations do not address new facts or arguments, and there is no justification for submitting

them after the close of evidence, where witnesses are not subject to cross-examination. 15 The

Court should ignore these new declarations—to do otherwise, particularly in light of Defendants’

continuing withholding of contemporaneous evidence of their intent, see ECF No. 92 (describing

Defendants’ repeated violations of their discovery obligations), would deprive Plaintiffs of a fair

opportunity to litigate this case. 16 But even if the Court considers them, the declarations are

inconsistent with the declarants’ prior depositions, declarations, and/or hearing testimony.



15
   Defendants submitted these declarations without either (1) seeking leave from the Court to do
so or (2) providing Plaintiffs the opportunity via deposition to challenge the attestations
contained therein.
16
   Notably, Defendants have still not produced emails between individual librarians during the
relevant period. ECF No. 92 at 1. This contemporaneous evidence is the most salient of
Defendants’ intent and is central to Plaintiffs’ Motion. Defendants only admitted they are
withholding this critical evidence after the hearing on the Motion. Worse yet, Defendants were
supposed to have responded to Plaintiffs’ motion to compel this evidence on December 23, 2022,
and even though the parties agreed to a two-week extension, Defendants still have not responded
to Plaintiff’s motion to compel or produced a single responsive document, and instead sought
another extension from this Court. ECF No. 97.


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       Milum’s unauthorized third declaration, for example, opines on certain text in Exhibit 23

detailing Llano Library’s weeding policies. ECF No. 96 Ex. 5 (“Third Milum Decl.”) ¶ 23. But

Milum had a full and fair opportunity to discuss Exhibit 23 when it was admitted and considered

at length during either of her two days of hearing testimony. Similarly, Moss and Cunningham

newly discuss the accuracy of Rochelle Wells’s emails, documents that were admitted and

discussed during both days of the hearing, yet not disputed by either Moss or Cunningham.

       The declarants’ new assertions are inconsistent with the evidence already submitted to the

Court—Milum and Cunningham now claim that Cunningham never directed Milum to remove

any books from the library, but instead to only to temporarily pull certain books from shelves.

ECF No. 96 Ex. 3 (“Second Cunningham Decl.”) ¶ 3; Third Milum Decl. ¶ 14. This cannot be

squared with the previously submitted evidence: (1) Milum’s hearing testimony that

Cunningham “told [her] to remove the Butt books from the library,” Hr’g Tr. Vol. 1 at 68:15-18;

(2) her deposition testimony that “Cunningham directed [her] to remove [the Butt and Fart

Books] from the library system,” Milum Dep. Tr. at 47:13-23; and (3) her contemporaneous

August 5, 2021 communication to Cunningham confirming that she was going to “delete” the

Butt and Fart Books from the library catalog, id. at 43:16-44:1. Milum also attests that her

removal of In the Night Kitchen “had nothing whatsoever to do with the content of the book,”

Third Milum Decl. ¶ 35, despite her verified interrogatory response and sworn testimony that she

“removed [In the Night Kitchen] from the library system based on inappropriate content,” Hr’g

Tr. Vol. 1 at 95:5-96:6; Ex. 87.

       For his part, Moss now avers that he never instructed Milum to remove books from the

library, but merely expressed his personal opinion that he would remove the books if he was the

library administrator. ECF No. 96 Ex. 4 (“Second Moss Decl.”) ¶ 4; see also Third Milum Decl.




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¶ 12. Again, this claim cannot be reconciled the evidence properly in the record—it is refuted by

Wells’s multiple contemporaneous communications thanking Moss for removing books from the

library, Ex. 8; Ex. 19, which Moss never refuted in his hearing testimony, despite being

presented with one of the the emails at the hearing, Hr’g Tr. Vol. 2 at 175:12-176:15. Further the

new Moss and Milum declarations are flatly contradicted by Milum’s own August 2021 notes,

memorializing her recollection that Moss “told me that I should take [the Butt Books] out of the

system,” and that if she did not, he said “the next step would be to take this to the

[Commissioners Court],” which would “take them off the shelf and . . . would be bad publicity

for the library.” Ex. 2B. An assertion that Moss was merely giving his personal recommendation

is hard to reconcile with the text of the contemporaneous note, particularly in light of the fact that

he was (and remains) Milum’s superior. 17

               2.      Milum’s Weeding Testimony Is Implausible and Not Credible

       In their Response, Defendants claim that Plaintiffs have never challenged Milum’s

assertion that she merely weeded the Banned Books pursuant to County policies. See, e.g., Resp.

at 8. But Plaintiffs have repeatedly highlighted Milum’s lack of credibility. At the hearing and in

previous briefing, Plaintiffs impeached Milum with her contradictory contemporaneous

statements and sworn testimony. See Post-Hr’g Br. at 8-11. Milum’s contradictory and

unbelievable testimony reveals the discriminatory intent underlying her actions. See Reeves v.

Sanderson Plumbing Prod., Inc., 530 U.S. 133, 147 (2000) (“Proof that the defendant’s

explanation is unworthy of credence is . . . circumstantial evidence that is probative of intentional

discrimination, and it may be quite persuasive.”).


17
   Moss Dep. Tr. at 77:2-7 (testifying that the Commissioner’s Court has the authority to hire and
fire the library director); Milum Dep. Tr. at 48:23-49:2 (stating that Moss and Cunningham were
her “supervisors”); Hr’g Tr. Vol. 1 at 59:7-8 (Milum testifying that Moss is “one of [her]
employers”).


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       Milum first presented her current, MUSTIE-based justification for having “weeded” the

Butt and Fart Books during her second round of testimony, on the second day of the hearing.

Hr’g Tr. Vol. 2 at 108:6-9. However, in her two previous sworn statements, at her deposition,

and during her first day of testimony—even while being questioned by her own lawyer—Milum

never claimed that she weeded the Butt and Fart Books because they were “Trivial” or available

“Elsewhere.” See ECF No. 49-1 (“First Milum Decl.”) ¶¶ 6-7; Second Milum Decl.; Milum Dep.

Tr. at 39:10-15, 43:2-7; Hr’g Tr. Vol. 1 at 125:22-126:1. Indeed, at her deposition Milum flatly

admitted that the real reason she “ultimately removed [the Butt and Fart Books] from the shelves

is because certain individuals found these books offensive.” Milum Dep. Tr. at 43:2-7. And in

her verified Interrogatory response, Milum stated that the Butt and Fart Books were removed “on

the basis of INAPPROPRIATE CONTENT.” Ex. 87.

       Milum’s testimony that the balance of the Banned Books met any MUSTIE factor other

than “Irrelevant” is similarly not credible in the face of her first declaration, deposition

testimony, and testimony during the first day of the hearing (even when being questioned by her

own lawyer). In each, Milum conveyed that she weeded the books because they had not been

checked out enough, and specifically acknowledged, with regard to Being Jazz and Freakboy,

that there was no other reason for their removal. See First Milum Decl. ¶¶ 8, 13-14; 18 Milum

Dep. Tr. at 31:5-33:12, 86:22-90:10; Hr’g Tr. Vol. 1 at 123:18-126:13. 19 But even Milum agreed




18
   Milum did not address Under the Moon: A Catwoman Tale in that declaration.
19
   During her deposition and during the first day of the hearing, Milum could not recall why she
weeded Caste, Milum Dep. Tr. at 31:3-4, 32:19-24, 90:11-25; Hr’g Tr. Vol. 1 at 126:6-13, so it
is inexplicable how she was able to recall those details during the second day of the hearing,
Hr’g Tr. Vol. 2 at 104-5-21, or in her unauthorized declaration, Third Milum Decl. ¶ 18
(attesting that she “permanently removed” Caste and the other Banned Books “in the fall of 2021
because in [her] judgment, these books met the criteria for weeding”).


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that “any one [MUSTIE] factor isn’t enough to remove a book.” See Milum Dep. Tr. at 24:5-10;

69:3-13.

       The real reason that Milum removed the Banned Books from the shelves and then from

the Llano County Library was because of the books’ contents and viewpoints. Her testimony

regarding her purported application of the weeding criteria is unpersuasive and immaterial: the

critical decision to remove each of the Banned Books was based on her and/or her co-

Defendants’ discriminatory animus, amply demonstrated through the record evidence. See

Tompkins v. Vickers, 26 F.3d 603, 609 (5th Cir. 1994) (“Circumstantial evidence is equally as

probative as direct evidence in proving illegitimate intent,” especially considering “direct

evidence of an improper motive is usually difficult, if not impossible, to obtain.”).

II.    Because County Commissioners Are Final Policymakers, the Preliminary
       Injunction Should Extend to All Defendants

       County liability for a violation of First Amendment rights arises when the execution of an

official policy causes the injury. Monell v. Dep’t of Soc. Servs., 436 U.S. 658, 694 (1978). A

“single action by a municipal official possessing final policymaking authority regarding the

action in question constitutes the official policy of the municipality.” Brady v. Fort Bend County,

145 F.3d 691, 698 (5th Cir. 1998); accord Beattie v. Madison Cnty. Sch. Dist., 254 F.3d 595, 602

(5th Cir. 2001). Whether a municipal official possesses final policymaking authority is a

question of state law. McMillian v. Monroe Cnty., 520 U.S. 781, 786 (1997). Texas law

expressly grants the commissioner’s court final policymaking authority over county libraries. See

Tex. Const. art. 5, § 18(b) (“[T]he County Commissioners Court . . . shall exercise such powers

and jurisdiction over all county business, as is conferred by this Constitution and the laws of the

State[.]”); Tex. Loc. Gov’t Code. § 323.006 (“The county library is under the general supervision

of the commissioners court.”); see also Doe AW v. Burleson Cnty., No. 1:20-CV-00126-SH,



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2022 WL 875912, at *4 (W.D. Tex. Mar. 24, 2022) (holding county commissioners court has

final policymaking authority over all areas entrusted to them by the state constitution and

statutes); K.D. Pool & Ven-Ken, Inc. v. Johnson Cnty., No. 3:00-CV-2246-R, 2002 WL 245973,

at *5 (N.D. Tex. Feb. 15, 2002) (holding final policymaker for county was commissioners court).

        The hearing evidence unequivocally demonstrates the Llano County Commissioners

Court’s direct involvement in purging the Banned Books. The county judge (Cunningham) and

another commissioner (Moss) expressly drove efforts to remove the books from library shelves.

See, e.g., Hr’g Tr. Vol. 1 at 66:5-67:3, 68:15-25, 70:2-19; Exs. 2A, 2B, 5, 7, 8, 19, 60. The entire

Commissioners Court participated, by closing the library system for three days so all

“inappropriate” books could be purged from the shelves and then by replacing the previous

library board with other individuals who had been driving efforts to remove the Banned Books.

Ex. 11. The full Court’s approval of the efforts of Cunningham and Moss amounted to

ratification of their actions. See Young v. Bd. of Supervisors, 927 F.3d 898, 903 (5th Cir. 2019)

(“If the authorized policymakers approve a subordinate’s decision and the basis for it, their

ratification would be chargeable to the municipality because their decision is final.”); Hatten v.

Mathis, No. 2:15-CV-601-RSP, 2016 WL 4572366, at *4 (E.D. Tex. Sept. 1, 2016) (holding

individual commissioner could have final policymaking authority where commissioners court

rubber stamps his actions). A preliminary injunction against the County, and against the

Commissioners individually, is thus warranted. The library board members are also subject to

injunction, having demonstrated their individual willingness to engage in similar activity in the

future. 20




20
  That the library board has supposedly agreed not to meet during the pendency of this litigation,
Resp. at 29-30, merely ensures they face no injunctive burden; it does not absolve their liability.


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Dated: January 6, 2023              Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 6, 2023, a true and correct copy of the foregoing

document was served on all counsel of record who have appeared in this case using the Court’s

CM/ECF system as a Filing User.



                                                    /s/ Ellen Leonida
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